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        IN THE UNITED STATES COURT OF FEDERAL CLAIMS



Bryndon Fisher, Bruce Reid, and Erick
Shipmon, derivatively on behalf of Federal
National Mortgage Association,

                      Plaintiffs,
       v.

The United States of America,
                                                          No. 13-608C
                      Defendant,                          (Judge Sweeney)

and Federal National Mortgage Association,


                      Nominal Defendant.



                                     Notice of Appeal

       Notice is hereby given that plaintiffs Bryndon Fisher, Bruce Reid, and Erick Shipmon,

derivatively on behalf of the Federal National Mortgage Association, in the above-captioned case,

hereby appeal to the United States Court of Appeals for the Federal Circuit from the final

judgment entered in this action on September 8, 2023 (ECF 107).



Dated: October 30, 2023                      Schubert Jonckheer & Kolbe LLP

                                             By: /s/ Robert C. Schubert

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